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EXHIBIT 17
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

AMERICAN CIVIL LIBERTIES UNION,
et al.,

Plaintiffs,

v. Civil Action No.
98-CV-5591

ALBERTO R. GONZALES, in his official
capacity as Attorney General of the United

States,

Defendant.

PHILADELPHIA GAY NEWS’ RESPONSES AND OBJECTIONS TO DEFENDANT'S —
FIRST SET OF INTERROGATORIES

Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff
Philadelphia Gay News (“Plaintiff”) responds and objects to Defendant Alberto R. Gonzales’s

First Set of Interrogatories (“Interrogatories”) as follows:

GENERAL OBJECTIONS

1. . Plaintiff objects to the Interrogatories to the extent the instructions and demands therein
purport to impose obligations in addition to, beyond, or different from those set forth in
the Federal Rules of Civil Procedure and the Rules of Civil Procedure of the United

States District Court for the Eastern District of Pennsylvania.

. 2, Plaintiff objects to the Interrogatories to the extent they call for the identification or

disclosure of information that is neither relevant to the claims and defenses of any party
in this action nor reasonably calculated to lead to the discovery of admissible evidence.
~ Plaintiff submits these responses and objections without conceding the relevance or

materiality of the subject matter of any interrogatory.
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RESPONSE TO INTERROGATORY NO. 10

Plaintiff objects to this Interrogatory because it calls for identification of information

not within the possession, custody or control of the Plaintiff. Subject to the foregoing and to the

‘ General Objections, Plaintiff states that it has no information responsive to this request.

INTERROGATORY NO. 11
For each ACLU member, identify the number or proportion of those members who

have children under 17 and use ICF products.

RESPONSE TO INTERROGATORY NO. 11

Plaintiff objects to this Interrogatory because it calls for identification of information -
not within the possession, custody or control of the Plaintiff. Subject to the foregoing and to the’

General Objections, Plaintiff states that it has no information responsive to this request.

_ INTERROGATORY NO. 12

Identify the number or proportion of ACLU members who have provided a credit
card number to a website in order to purchase membership, online content, and/or other items for
sale, to make a donation, or to make a reservation (such as a rental car or hotel reservation).

RESPONSE TO INTERROGATORY NO. 12

Plaintiff objects to this Interrogatory because it calls for identification of information
not within the possession, custody or control of the Plaintiff. Subject to the foregoing and to the

General Objections, Plaintiff states that it has no information responsive to this request,

INTERROGATORY NO. 13
For each website plaintiff, identify a representative sample of webpages on your -
website which contains material about which you fear prosecution under COPA, as referenced in

Paragraph 2 in the section titled “The Impact of COPA on Plaintiffs” on page 24 of the Amended
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Complaint that “[P]laintiffs fear prosecution under COPA for communicating, sending,
displaying, or distributing material that might be deemed ‘harmful to minors’ by some
community in the United States.”

RESPONSE TO INTERROGATORY NO. 13

Plaintiff objects that this Interrogatory is premature, unreasonably cumulative and
duplicative of Document Requests No. 1 and No. 13, and calls for identification of information
that is in the public domain. Plaintiff also objects that the phrases used to define “representative
sample,” including “distribution of characteristics,” “degree of explicitness of sexual content,”
and “population or universe” are vague and ambiguous. Subject to the foregoing and to the
General Objections, Plaintiff refers to the web content identified in the Amended Complaint and
responds as follows:

1) Plaintiff's website contains an interactive “Chat Rooms” function which contains
or may contain in the future contain, among other things, candid and explicit comments or
questions on a diverse category of topics posted directly by internet web users use sexually
suggestive language or have frank discussions about sexual matters.
(http://www.epgn.com/chatrooms.htm, last viewed October 27, 2005).

2) Plaintiff's website also contains personal ads in the “Classifieds” and “Philly
Encounters” sections that may contain candid and explicit language regarding sex and sexual
acts. (http://www.epgn.com/classifieds.htm; http://www.epgn.com/phillyene.htm, last viewed
October 24, 2005).

3) Plaintiff's website currently contains two advertisements for “Philly Encounters”

that portray men engaged in homosexual romantic contact.

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(http://www.epgn.com/classifieds.htm; http://www.epgn.com/phillyenc.htm, last viewed October
24, 2005).

INTERROGATORY NO. 14

For each website plaintiff, identify a representative sample of webpages on your
website which you believe contains material that has serious literary, artistic, political, scientific
and/or social value for adults.

RESPONSE TO INTERROGATORY NO. 14

Plaintiff objects to the extent this Interrogatory calls for the identification of :
information that is neither relevant to the claims and defenses of any party in this action nor
reasonably calculated to lead to the discovery of admissible evidence. COPA does not take into
account the subjective beliefs of speakers with regard to the content they provide on the Internet.
Additionally, under COPA, it is irrelevant whether material has “social value for adults.”
Plaintiff further objects that the phrases used to define “representative sample,” including
“distribution of characteristics,” “degree of explicitness of sexual content,” and “population or
universe” are vague and ambiguous. Plaintiff also objects that this Interrogatory is premature

and calls for identification of information that is in the public domain. To the extent this

Interrogatory purports to inquire whether Plaintiff believes that any of the webpages on its

website are obscene, Plaintiff hereby responds that it does not believe any of its webpages are
obscene.
INTERROGATORY NO. 15

For each website plaintiff, identify a representative sample of webpages on your
website which you believe contains material that has serious literary, artistic, political, scientific

and/or social value for children under 17.

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PGN Real Estate
with Classifieds

> Real Estate For Sale
» Real Estate For Rent
> Roommates

Help Wanted
>» Business Opportunities
> Services
» Vacation Rentals
> For Sale
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To place a Classifieds liner ad:
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or email: don@epgn.com

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Let the Gay “Walk like a man” Main ‘50 Ways’ to

The secrets out:

Games begin all the way to the say ‘Fabulous’ this week on
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Honesty, Integrity, Professionalism

Philadelphia Gay News

Ade. Gassilieds SEEKING BUDDY

40 y.o, 6'0”, 195 Ib., well built GWM seeks buddy with similar traits. | value a

good physique (without self-idolatry), intelligence, prudence, cuddling and

> Er playfulness. I’m particularly charmed by a guy who can laugh at himself.

> Friends Men : .

> Friends TV/TS Non-verbal companionship can be a treasurable experience. Turnoffs:
ve superficiality and pretentiousness. Call 856-795-2573,

WN, 55 NE Phila. If you're looking for hot action, call 215-934-5309. No calls
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moment—a great date or more just one day at a time. No “rush to the
altar’"—reasonable expectations for fun, maybe some passion maybe
something more. Early 50s, excellent shape (32” waist, 44” chest, 5’9, 170),
intense, passionate, playful, smart with zero tolerance for pretension or
melodrama. Cynical, self-absorbed or unvalued guys are not my style. A
sweet, smart guy 30'ish to 40’ish is—if he has a terrific and genuine sense of
humor and 2 real brain! Life is short, time is scarce so | won't waste yours (or
mine). Respond to mail service: metrocore@algxmail.com and you'll get a
direct reply from me with pic and candor. All | ask is the same.

GWM, Italian, top or bottom, 7" cut. Also into assplay, toys & water sports. Bi,
straight, out of towners welcome. Day or night. Call Jeff at 215-850-7900.

MAIN LINE AREA .
GWM, 46, brown hair, blue eyes, into quiet evenings at home. Call anytime,
610-896-6842.

Let the Gay "Walk like a man" , Main ‘50 Ways’ to The secrets out:
Games begin all the way to the say ‘Fabulous’ this week on
bank television

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